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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

TRAVIS D. ARNOLD,
Petitioner,
V.
FELIPE MARTINEZ, JR., Warden,

Respondent.

 

 

Case No. CV 20-8694 DMG (PVC)

JUDGMENT

Pursuant to the Court’s Order Accepting Findings, Conclusions and

Recommendations of United States Magistrate Judge,

IT IS HEREBY ADJUDGED that the above-captioned action is dismissed without

prejudice.

DATED: September 30, 2021

 

In, Ae

 

 

DOLLY YWif/GEE
UNITEDSTATES DISTRICT JUDGE

 
